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                          I N T H E UNITED STATES DISTRICT COURT
                          FOR T H E NORTHERN DISTRICT OE TEXAS
                                     FORT WORTH DIVISION

 KHAMBAO MONTGOMERY                                   §
 MULDOON,                                             §
                                                      §
         PLAINTIFF,                                   §
                                                      §
 V.                                                   §     CIVIL ACTION NO. 4:15*CV-00114-Y
                                                      §
 STATE F A R M LLOYDS AND                             §
 WENDY LACEY,                                         §
                                                      §
         DEFENDANTS.                                  §

                      JOINT STIPULATION OF DISMISSAL W I T H PREJUDICE

         Plaintiff Khambao Montgomery Muldoon and Defendants State Farm Lloyds and Wendy

 Lacey hereby stipulate to the voluntary dismissal with prejudice of this matter, pursuant, to

Federal Rule of Civil Procedure 41(a)(l)(A)(ii). Therefore, Plaintiffs claims against Defendants

 are hereby dismissed with prejudice, with each party to bear its own costs, i f any.

         SO STIPULATED, this thec^C^day of November, 2015,

                                                  Respectfully submitted,


                                                      Jaoey HoMjiecker              dl \ ,.'
                                                      State Bar No.: 24085383
                                                      SPEIGHTS & WORRICH
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                                               And

                                               Isl Rhonda J, Thompson
                                               Rhonda J, Thompson
                                               State Bar No,; 24029862
                                               Courtney C, Kasper
                                               State Bar No,: 24078771

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                                               COUNSEL FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

       This is to certify that on t h e c f f i ^ a y of November, 2015, a true and correct copy of the
foregoing was delivered to the following counsel of record by electronic service and/or facsimile
transmission and/or certified mail, return receipt requested:

        Jacey L. Hornecker
        Speights & Women
        1350 North Loop 1604 E„ Suite 104
        San Antonio, Texas 78232
               Counsel for Plaintiff



                                               1st Rhonda J. Thompson
                                               Rhonda J, Thompson




JOINT STIPULATION OFDISMISSAL WrTHKREJUPICE-rage 2
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